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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

  IN RE:                                                    )
                                                            )          Case No. 19-01227-5-JNC
  CAH ACQUISITION COMPANY 16, LLC, d/b/a                    )
  HASKELL COUNTY COMMUNITY                                  )          Chapter 11
  HOSPITAL,                                                 )
                                                            )
                 Debtor.                                    )
                                                            )

                     MOTION TO EMPLOY GRANT THORNTON LLP
                    AS FINANCIAL CONSULTANT FOR THE TRUSTEE

        Thomas W. Waldrep, Jr., trustee in the above-captioned case (the “Trustee”), hereby moves

 for the entry of an Order pursuant to Section 327(a) of Title 11 of the United States Code, 11

 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Rule 2014 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”) authorizing the employment of the firm of Grant Thornton

 LLP (“Grant Thornton”) to provide financial advisory services and related information

 management services to the Trustee, effective as of March 17, 2019. In support of this Motion,

 the Trustee refers to and relies upon the Affidavit of Scott B. Davis in Support of Motion to Employ

 Grant Thornton LLP as Financial Consultant for the Trustee (the “Davis Affidavit”), attached

 hereto as Exhibit A, and respectfully states as follows:

                                 JURISDICTION AND VENUE

        1.      This United States Bankruptcy Court for the Eastern District of North Carolina (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and this matter

 is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for the relief requested herein are Section 327(a) of the



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 Bankruptcy Code and Bankruptcy Rule 2014.

                                 FACTUAL BACKGROUND

        4.      An involuntary Chapter 7 petition was filed against CAH Acquisition Company #1,

 LLC (“CAH 1”) on February 19, 2019. Thomas W. Waldrep, Jr. was appointed as Trustee on

 February 22, 2019.

        5.      On March 15, 2019, the Court entered an Order converting CAH 1’s involuntary

 Chapter 7 case to a Chapter 11 case and appointing Thomas W. Waldrep, Jr. as Trustee of the

 Chapter 11 estate.

        6.      On March 17, 2019, CAH Acquisition Company #2, LLC (“CAH 2”) filed a

 petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

 Jr. was appointed as Chapter 11 Trustee on March 18, 2019.

        7.      On March 14, 2019, CAH Acquisition Company #3, LLC (“CAH 3”) filed a

 petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

 Jr. was appointed as Chapter 11 Trustee on March 15, 2019.

        8.      On March 17, 2019, CAH Acquisition Company #4, Inc. (“CAH 4”) filed a petition

 for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep, Jr. was

 appointed as Chapter 11 Trustee on March 18, 2019.

        9.      On March 21, 2019, CAH Acquisition Company 6, LLC (“CAH 6”) filed a petition

 for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep, Jr. was

 appointed as Chapter 11 Trustee on March 29, 2019.

        10.     On March 21, 2019, CAH Acquisition Company 7, LLC (“CAH 7”) filed a petition

 for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep, Jr. was

 appointed as Chapter 11 Trustee on March 29, 2019.



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        11.     On March 17, 2019, CAH Acquisition Company 12, LLC (“CAH 12”) filed a

 petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W. Waldrep,

 Jr. was appointed as Chapter 11 Trustee on March 18, 2019.

        12.     On March 17, 2019, CAH Acquisition Company 16, LLC (“CAH 16” or “Debtor”)

 filed a petition for relief under Chapter 11 of the United States Bankruptcy Code. Thomas W.

 Waldrep, Jr. was appointed as Chapter 11 Trustee on March 18, 2019.

                                     RELIEF REQUESTED

        13.     Pursuant to Section 327(a) of the Bankruptcy Code and Bankruptcy Rule 2014, the

 Trustee requests the Court enter an Order: (i) authorizing the employment and retention of Grant

 Thornton as financial consultant for the Trustee in the instant case pursuant to the terms and

 conditions of that certain engagement letter dated April 2, 2019 by and between the Trustee and

 Grant Thornton (the “Engagement Letter”), attached hereto as Exhibit B; (ii) approving the terms

 of Grant Thornton’s employment, including the proposed fee structure set forth in the Engagement

 Letter; (iii) authorizing the Trustee on behalf of the Debtors to enter into a Business Associate

 Agreement for Health Care Providers (a “BAA”) with Grant Thornton, the form of which is attached

 to the Engagement Letter; and (iv) granting such other and further relief as the Court deems

 appropriate. The Trustee requests that Grant Thornton’s employment be deemed effective as of

 March 17, 2019.

        A.      Selection of Grant Thornton

        14.     The Trustee seeks to retain Grant Thornton as financial consultant because of its

 extensive expertise in the financial and reporting aspects of a Chapter 11 proceeding, specifically

 one dealing with a healthcare debtor.

        15.     Grant Thornton is a national accounting and consulting firm that has significant



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 experience in corporate restructurings, operations improvement, litigation analytics, valuations,

 and bankruptcy case management services. Grant Thornton has extensive experience working

 with and for distressed companies in complex financial and operational restructurings, both out-of-

 court and in Chapter 11 proceedings throughout the United States. Scott B. Davis, the lead Grant

 Thornton partner in this engagement, has provided a full range of restructuring services throughout

 the United States to underperforming healthcare debtors in financially-troubled situations. Mr. Davis

 has extensive experience in interim management and debtor advisory work; bankruptcy preparation

 and management; litigation support; post-merger integration and debt restructuring and refinancing.

        16.     For the foregoing reasons, the Trustee believes that Grant Thornton is both well

 qualified and able to assist the Trustee in this Chapter 11 proceeding in an efficient and timely

 manner.

        B.      Scope of Services to Be Rendered

        17.     Grant Thornton’s services are necessary and essential to enable the Trustee to

 faithfully fulfill his duties as Trustee. Mr. Davis is the principal professional responsible for the

 engagement and is supported by other experienced Grant Thornton professionals. Additional

 Grant Thornton staff are available and will be deployed as necessary to serve the Trustee during

 this Chapter 11 case pursuant to the terms of the Engagement Letter.

        18.     Working under the direction of the Trustee and collaboratively with the Trustee’s

 counsel and other professionals, Grant Thornton will provide the following services:

        a)      Analyze the Debtor’s financial position, business plans, and financial projections
                prepared by management including, but not limited to, commenting on assumptions
                and comparing those assumptions to historical Debtor and industry trends;

        b)      Consult with the Trustee on the assessment of a bankruptcy exit strategy;

        c)      Consult with the Trustee in connection with the development of financial
                projections;


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       d)    Assist the Trustee with its communications with patients, suppliers, statutory
             committees, and other parties-in-interest;

       e)    Analyze the Debtor’s rolling 13-week cash receipts and disbursements forecast and
             assess liquidity and DIP financing needs;

       f)    Consult with the Trustee regarding their valuation of the Debtor on a going-concern
             and liquidation basis;

       g)    Consult with the Trustee, in coordination with legal counsel, in the preparation of
             a disclosure statement, plan of reorganization and the underlying business plans
             from which those documents are developed;

       h)    Assist the Trustee, in coordination with legal counsel, in evaluating competing
             disclosure statements, plans and other strategic proposals made by the Committee
             of Unsecured Creditors or other interested parties in this Chapter 11 case;

       i)    Assist the Trustee in responding to information requests submitted by statutory
             committees and their legal and/or financial counsel;

       j)    Assist the Trustee with its vendor management program;

       k)    Consult with the Trustee regarding the preparation of required financial statements,
             schedules of financial affairs, monthly operating reports, and any other financial
             disclosures required by the Court;

       l)    Provide expert advice and testimony regarding financial matters related to,
             including, among other things, the feasibility of any proposed plan of
             reorganization, and the valuation of any securities issued in connection with any
             such plan;

       m)    Analyze the Debtor’s Information Technology (“IT”) infrastructure, storage media,
             and third-party systems;

       n)    Consult with the Trustee on the assessment of Debtor’s IT systems;

       o)    Consult with the Trustee in connection with the development of data-preservation
             and data-collection efforts described in the Statement of Work dated April 4, 2019;

       p)    Provide digital forensic and related services (including, but not limited to, forensic
             preservation and collection of electronic data), to be performed at the direction of
             the Trustee;

       q)    Assist the Trustee with its communications with third-party IT providers and other
             parties-in-interest;


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        r)     Assist the Trustee in responding to information requests submitted by statutory
               committees and their legal and/or financial counsel; and

        s)     Provide additional services as requested from time to time by the Trustee and
               agreed to by Grant Thornton.

        C.     Professional Fees and Expenses

        19.    Pursuant to the terms and conditions of the Engagement Letter, Grant Thornton has

 agreed to accept payment for services provided to the Trustee, in this case at about 73% of its

 standard rates. A copy of the Engagement Letter is attached hereto as Exhibit B.

        20.    The fee schedule setting forth Grant Thornton’s standard rates and the applicable

 discounted rates is included in the Engagement Letter and may be summarized as follows:

        Classification                Standard Hourly Rates        Discounted Hourly Rates
        Partner / Principal                  $870                          $620
        Managing Director                    $800                          $620
        Director                             $710                          $500
        Senior Manager                       $710                          $500
        Manager                              $590                          $450
        Senior Associate                     $450                          $310
        Associate                            $320                          $250

        21.    In addition, Grant Thornton’s fees for certain forensic technology services, which

 fees are set forth in more detail in Attachment B to the Statement of Work dated April 4, 2019,

 may be summarized as follows:
         Database Fees
         Standard Database Set-Up                     $2,250 per database
         Standard Database Hosting                    $750 per month
         Encrypted Database Set-up & Hosting          $4,500 per month per database
         Database Archiving                           $250 per month per database

         Data Visualization Fees
         Visualization Server Site Set-up            $2,500 per site
         Visualization User Licensure                $500 per user, per month

         Evidence Collection Fees
         Forensic Imaging                            $800 – $1,250 per Device/Drive (up to 2
                                                     TB)

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          Server Share Logical Image                      $1,000 – $1,200 per Server Share
          Backup Tape File Listing                        $150 – $200 per Backup Tape
          Backup Tape Data Extraction                     $250 – $300 per Backup Tape

          Data Processing
          Processing Set-Up                               $500 per Logical Unit
          Processing & Review Promotion                   $75 – $150 per GB
          Optical Character Recognition                   $35 per GB
          Load File Creation                              $150 per GB
          Machine Translation                             $0.12 – $0.15 per file
          Load File Ingestion                             $125 per GB

          Data Analytics, Hosting, and Review
          Document Imaging                                No unit-based charge
          Conceptual Analytics / Assisted Review          $200 per GB
          User Licensing                                  $100 per user per month
          Offline Hosting                                 $5 per GB per month
          Data Hosting                                    $10 – $35 per GB per month

         22.     Grant Thornton also will seek reimbursement of all necessary out-of-pocket

 business expenses incurred in connection with this matter and a six percent administrative charge

 to cover administrative overhead.

         23.     Grant Thornton intends to apply to the Court for the payment of compensation for

 services rendered and reimbursement of actual and necessary out-of-pocket expenses in

 accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the

 Local Rules of this Court.

         24.     As described more fully in the Davis Affidavit in support of this Motion, the terms

 of compensation reflected in the attached Engagement Letter are consistent with, and typical of,

 engagements entered by Grant Thornton and other financial consultants when rendering financial

 consulting services for clients similar to the Trustee, both inside and outside of bankruptcy. The terms

 of the Engagement Letter were negotiated between the Trustee and Grant Thornton and reflect the

 work to be performed by Grant Thornton in this Chapter 11 case and the firm’s expertise.

         25.     Grant Thornton has agreed to accept as compensation such sums as may be allowed

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 by the Court on the basis of the professional time spent, the rates charged for such services, the

 necessity of such services to the administration of the estate, the reasonableness of the time within

 which the services were performed in relation to the results achieved, and the complexity,

 importance, and nature of the problems, issues, or tasks addressed in the case. Grant Thornton has

 prepared the Davis Affidavit, which discloses the information relevant to this Motion pursuant to

 Bankruptcy Rules 2014 and 2016. The Davis Affidavit is attached hereto as Exhibit A.

        D.      Disinterestedness of Professionals

        26.     To the best of the Trustee’s knowledge, information, and belief, based on and

 except as set forth in the Davis Affidavit, Grant Thornton does not hold or represent any interest

 adverse to the Trustee or the Debtor, its creditors, or other parties-in-interest in connection with

 the Trustee, the Debtor, and this Chapter 11 case, and is a “disinterested person” as that term is

 defined by Bankruptcy Code Section 101(14), as modified by Bankruptcy Code Section 1107(b).

 More specifically, as set forth in the Davis Affidavit, Grant Thornton, its members, and its

 employees:

        a)      are not creditors, equity security holders, or insiders of the Trustee or the Debtor;

        b)      are not and were not, within 2 years before the date of the filing of the Debtor’s
                Chapter 11 petitions, directors, officers, or employees of the Trustee or the Debtor;
                and

        c)      do not have an interest materially adverse to the interest of the estate or of any class
                of creditors or equity security holders, by reason of any direct or indirect
                relationship to, connection with, or interest in, the Debtor, or for any other reason.

        27.     Based on and as set forth in the Davis Affidavit, Grant Thornton informed the

 Trustee that Grant Thornton has assessed, and will continue to assess, any and all client

 relationships to ensure that Grant Thornton does not represent any interests adverse to Trustee or

 the Debtor, its creditors, or other parties-in-interest and that no disqualifying circumstances exist,



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 and further, that Grant Thornton shall disclose on an ongoing basis any relationship that my reflect

 upon Grant Thornton’s disinterestedness. The Trustee understands that to the extent Grant

 Thornton discovers any additional facts bearing upon matters described herein or its engagement

 by the Trustee during the period of its employment, Grant Thornton promptly will disclose such

 facts and supplement the information contained in this Motion and the Davis Affidavit.

        28.     Grant Thornton has not been retained to assist any entity or person other than the

 Trustee on matters relating to, or in connection with, the Trustee and this Chapter 11 case. If this

 Court approves the proposed retention and employment of Grant Thornton by the Trustee, Grant

 Thornton will not accept any engagement or perform any service for any entity or person other

 than the Trustee related to this Chapter 11 case. Grant Thornton will, however, continue to provide

 professional services to, and engage in commercial or professional relationships with, entities or

 persons that may be creditors of the Debtor or parties-in-interest in this Chapter 11 case; provided,

 however, that such services do not relate to, or have any connection with, the Debtor and this

 Chapter 11 case.

        29.     The Trustee has been advised that Grant Thornton will not share any compensation

 to be paid on behalf of the Trustee in connection with services to be performed with any other

 person or entity, other than other professionals of Grant Thornton, to the extent required by

 Bankruptcy Code Section 504.

                                          CONCLUSION

        WHEREFORE, the Trustee requests that this Court enter an Order (i) authorizing the

 employment and retention of Grant Thornton as financial consultant for the Trustee in this case

 pursuant to the terms and conditions of the Engagement Letter, effective as of March 17, 2019; (ii)

 approving the terms of Grant Thornton’s employment, including the proposed fee structure set



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forth in the Engagement Letter; (iii) authorizing the Trustee on behalf of the Debtors to enter into a

Business Associate Agreement for Health Care Providers (a “BAA”) with Grant Thornton, the form

of which is attached to the Engagement Letter; and (iv) granting such other and further relief as the

Court deems appropriate.

       Respectfully submitted, this the 10th day of April, 2019.

                                        WALDREP LLP

                                        /s/ Thomas W. Waldrep, Jr.         ____________
                                        Thomas W. Waldrep, Jr. (N.C. State Bar No. 11135)
                                        James C. Lanik (N.C. State Bar No. 30454)
                                        Jennifer B. Lyday (N.C. State Bar No. 39871)
                                        Francisco T. Morales (N.C. State Bar No. 43079)
                                        Anne H. Phillips (N.C. State Bar No. 48760)
                                        John R. Van Swearingen (N.C. State Bar No. 53646)
                                        101 S. Stratford Road, Suite 210
                                        Winston-Salem, NC 27104
                                        Telephone: 336-717-1440
                                        Telefax: 336-717-1340
                                        Email: notice@waldrepllp.com




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                             EXHIBIT A
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                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

 IN RE:                                                   )
                                                          )           Case No. 19-01227-5-JNC
 CAH ACQUISITION COMPANY 16, LLC, d/b/a                   )
 HASKELL COUNTY COMMUNITY                                 )           Chapter 11
 HOSPITAL,                                                )
                                                          )
                Debtor.                                   )
                                                          )

    AFFIDAVIT OF SCOTT B. DAVIS IN SUPPORT OF MOTION TO EMPLOY
   GRANT THORNTON LLP AS FINANCIAL CONSULTANT FOR THE TRUSTEE

       I, Scott B. Davis, do solemnly depose and declare as follows:

        1.     I am a Partner at Grant Thornton LLP (“Grant Thornton”), with offices located at

201 S. College St., Charlotte, NC 28244. I specialize in corporate restructuring and financial

advisory services to financially troubled organizations, specifically in the healthcare and not-for-

profit sectors. Grant Thornton is the United States member firm of Grant Thornton International.

Grant Thornton is a firm of independent public accountants as defined under the Code of

Professional Conduct of the American Institute of Certified Public Accountants and Consultants.

        2.     I am fully familiar with the facts hereinafter and submit this affidavit (the

“Affidavit”) in connection with the Motion to Employ Grant Thornton LLP as Financial

Consultant for the Trustee (the “Motion”) pursuant to Section 327(a) of the Bankruptcy Code and

Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure.

        3.     To the extent that any information disclosed herein requires amendment or

modification upon Grant Thornton’s receipt of additional information or as additional information

becomes available, a supplemental affidavit will be submitted to the Court.

                                Professional Fees and Expenses



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       4.     Pursuant to the terms and conditions of that certain engagement letter dated April

2, 2019 by and between the Trustee and Grant Thornton (the “Engagement Letter”), Grant

Thornton has agreed to accept payment for services provided to the Trustee, in this case at about

73% of its standard rates. A copy of the Engagement Letter is attached to the Motion as Exhibit

B.

       5.     The fee schedule setting forth Grant Thornton’s standard rates and the applicable

discounted rates is included in the Engagement Letter and may be summarized as follows:

       Classification                 Standard Hourly Rates        Discounted Hourly Rates
       Partner / Principal                   $870                          $620
       Managing Director                     $800                          $620
       Director                              $710                          $500
       Senior Manager                        $710                          $500
       Manager                               $590                          $450
       Senior Associate                      $450                          $310
       Associate                             $320                          $250

       6.     In addition, Grant Thornton’s fees for certain forensic technology services, which

fees are set forth in more detail in Attachment B to the Statement of Work dated April 4, 2019,

may be summarized as follows:

       Database Fees
       Standard Database Set-Up                     $2,250 per database
       Standard Database Hosting                    $750 per month
       Encrypted Database Set-up & Hosting          $4,500 per month per database
       Database Archiving                           $250 per month per database

       Data Visualization Fees
       Visualization Server Site Set-up             $2,500 per site
       Visualization User Licensure                 $500 per user, per month

       Evidence Collection Fees
       Forensic Imaging                             $800 – $1,250 per Device/Drive (up to 2
                                                    TB)
       Server Share Logical Image                   $1,000 – $1,200 per Server Share
       Backup Tape File Listing                     $150 – $200 per Backup Tape
       Backup Tape Data Extraction                  $250 – $300 per Backup Tape



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       Data Processing
       Processing Set-Up                             $500 per Logical Unit
       Processing & Review Promotion                 $75 – $150 per GB
       Optical Character Recognition                 $35 per GB
       Load File Creation                            $150 per GB
       Machine Translation                           $0.12 – $0.15 per file
       Load File Ingestion                           $125 per GB

       Data Analytics, Hosting, and Review
       Document Imaging                              No unit-based charge
       Conceptual Analytics / Assisted Review        $200 per GB
       User Licensing                                $100 per user per month
       Offline Hosting                               $5 per GB per month
       Data Hosting                                  $10 – $35 per GB per month

       7.      The Trustee also has agreed to reimburse Grant Thornton for all actual and

necessary out-of-pocket business expenses incurred in connection with this matter.

       8.      These rates are set at a level designed to fairly compensate Grant Thornton for the

work of its financial advisors. After conducting certain diligence in connection with reasonable

compensation that Grant Thornton could request for the provision of its services in this Chapter

11 case, upon information and belief, the terms of the Engagement Letter are similar to the terms,

both financial and otherwise, agreed to by Grant Thornton and other financial consultancy firms,

both inside and outside of bankruptcy. Moreover, the terms of the Engagement Letter were

negotiated between the Trustee and Grant Thornton and reflect the work to be performed by Grant

Thornton in this Chapter 11 case and the firm’s financial consultancy expertise.

       9.      Grant Thornton intends to apply to the Court for payment of compensation for

services rendered and reimbursement of actual and necessary out-of-pocket business expenses and

an administrative charge of six percent, in accordance with applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules and orders of this Court. Grant Thornton

has agreed to accept as compensation such sums as may be allowed by the Court on the basis of

the professional time spent, the rates charged for such services, the necessity of such services to

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the administration of the estate, the reasonableness of the time within which the services were

performed in relation to the results achieved, and the complexity, importance, and nature of the

problems, issues, or tasks addressed in the case.

       10.     No compensation has been received by Grant Thornton from the Trustee or any

other person on said account.

       11.     Grant Thornton has agreed not to share (a) any compensation that it may receive

with another party or person, other than members of the firm itself or (b) any compensation that

another person or party has received.

                            Grant Thornton’s Conflict Check System

       12.     A search of the client databases and other relevant databases of Grant Thornton was

performed to identify any connections or relationships with the entities with which the Trustee or

the Debtor has material relationships as identified by the Trustee. Such analysis consisted of a

review of contacts with the Trustee, the Debtor, and entities holding claims or interests in the

Debtor that were made reasonably known to Grant Thornton by the Trustee. A list of the parties

reviewed is reflected in Schedule 1 to this Affidavit. Grant Thornton’s review included conducting

a query of such parties in databases containing the names of individuals and entities that are current

or former clients of Grant Thornton or who have other relationships with Grant Thornton.

Additionally, Grant Thornton included potential judges and bankruptcy administrators in the

search process. A summary of the relationships that Grant Thornton identified during this process

is set forth in Schedule 2 hereto.

       13.     Grant Thornton has provided or could reasonably be expected to continue to

provide services unrelated to this Chapter 11 case for the various entities shown on Schedule 2.

Grant Thornton’s assistance to these parties has been related to providing various financial,



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litigation support, business consulting, or tax services. To the best of my knowledge, no services

have been provided to these parties in interest that involve their rights in this Chapter 11 case, nor

does Grant Thornton’s involvement in this case compromise its ability to continue such consulting

services.

       14.     In addition, as part of its diverse practice, Grant Thornton appears in numerous

cases and court proceedings and participates in transactions that involve many different

professionals, including attorneys, accountants, investment banks, and financial consultants who

may represent claimants and parties in interest in this Chapter 11 case. Further, Grant Thornton

has performed in the past, and may perform in the future, advisory and consulting services for

various attorneys and law firms and has been represented by various attorneys and law firms, some

of whom may be involved in these proceedings.            Based on our current knowledge of the

professionals involved, and to the best of my knowledge, none of these relationships creates an

interest materially adverse to the Trustee or the Debtor in matters upon which Grant Thornton is

to be employed, and none are in connection with the Trustee, the Debtor, or this case.

                              Disinterestedness of Grant Thornton

       15.     To the best of my knowledge, and based on the results of the conflicts search

described above, Grant Thornton is a “disinterested person” within the meaning of Section 101(14)

of the Bankruptcy Code (as supplemented by Section 1107(b) of the Bankruptcy Code), in that,

except as otherwise set forth herein, Grant Thornton and its professionals:

       a)      are not creditors, equity security holders, or insiders of the Trustee or the Debtor;

       b)      are not and were not, within 2 years before the date of the filing of the Debtor’s
               Chapter 11 petition, directors, officers, or employees of the Trustee or the Debtor;
               and

       c)      do not have an interest materially adverse to the interest of the estate or of any class
               of creditors or equity security holders, by reason of any direct or indirect relationship


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               to, connection with, or interest in, the Debtor, or for any other reason.

       16.     In addition, to the best of my knowledge and based upon the results of the conflicts

search described above, other than as described herein, neither I, Grant Thornton, nor any member

or associate thereof, holds or represents an interest adverse to the Trustee, the Debtor, or the

Debtor’s estate.

       17.     If any new material, relevant facts or relationships are discovered or arise, Grant

Thornton promptly will file a supplemental affidavit pursuant to Bankruptcy Rule 2014(a).

       18.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge, information, and belief.

       Executed this 10th day of April, 2019.

                                              /s/ Scott B. Davis
                                              Scott B. Davis
                                              Partner
                                              Grant Thornton, LLP
                                              201 S. College Street, Suite 2500
                                              Charlotte, NC 28244
                                              T +1 704 632 3540
                                              F +1 704 334 7701
                                              scott.davis@us.gt.com




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                                        Schedule 1

 3M
 Affiliated Medical Services
 Airgas Mid South, Inc.
 Alere North America, Inc.
 American Esoteric Laboratory (AEL)
 American Red Cross Blood Services
 Ameripride
 Amerisource Bergen Drug Corp
 Anesthesia Dynamics
 Anthem Blue Cross Life and Health Insurance Company
 Anthem Health Plans of Kentucky, Inc. doing business as Anthem Blue Cross and Blue Shield
 Anthem Health Plans of Maine, Inc. doing business as Anthem Blue Cross and Blue Shield
 Anthem Health Plans of New Hampshire, Inc. doing business as Anthem Blue Cross and Blue
 Shield
 Anthem Health Plans of Virginia, Inc. doing business as Anthem Blue Cross and Blue Shield
 Anthem Health Plans, Inc. doing business as Anthem Blue Cross and Blue Shield
 Anthem Insurance Companies, Inc. doing business as Anthem Blue Cross and Blue Shield
 Arjo, INC.
 Arnett Carbis Toothman, LLP
 Assistant United Stated Trustee Jordan Sickman
 AT&T
 Attorney General, State of Missouri
 Baker Donelson Bearman Caldwell & Berkowitz, PC
 Bank of Hays
 BC Technical
 BCBSM Inc. doing business as BlueCross BlueShield of Minnesota
 Beckman Coutler, Inc.
 Bio rad Laboratories inc.
 Bioventus
 Blue Cross and Blue Shield of Georgia, Inc.
 Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.
 Blue Cross Blue Shield of Michigan Mutual Insurance Company
 Blue Cross Blue Shield of Wisconsin doing business as Anthem Blue Cross and Blue Shield
 Blue Cross of California, Inc. doing business as Anthem Blue Cross
 Boyce & Bynum Pathology Lab
 Brett King
 Brown County Treasurer
 CAH Acquisition Company #1, LLC a Delaware Limited Liability Company doing business as
 Washington County Hospital
 CAH Acquisition Company #10, LLC
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 CAH Acquisition Company #11, LLC a Delaware Limited Liability Company doing business as
 Lauderdale Community Hospital
 CAH Acquisition Company #12, LLC a Delaware Limited Liability Company doing business as
 Fairfax Community Hospital
 CAH Acquisition Company #2, LLC a Delaware Limited Liability Company doing business as
 Oswego Community Hospital
 CAH Acquisition Company #3, LLC a Delaware Limited Liability Company doing business as
 Horton Community Hospital
 CAH Acquisition Company #4, Inc. an Oklahoma Corporation doing business as Drumright
 Regional Hospital
 CAH Acquisition Company #5, LLC a Delaware Limited Liability Company doing business as
 Hillsboro Community Hospital
 CAH Acquisition Company #6, LLC a Delaware Limited Liability Company doing business as I-
 70 Community Hospital
 CAH Acquisition Company #7, LLC a Delaware Limited Liability Company doing business as
 Prague Community Hospital
 CAH Acquisition Company #9, LLC
 CAH Acquisition Company 16, LLC a Delaware Limited Liability Company doing business as
 Haskell County Community Hospital
 Cardinal Health - Pharm
 Cardinal Health 411, Inc.
 Cardinal Health Nuclear Pharm
 Carefusion Solutions, LLC
 Castle Medical, LLC
 Cayenne Medical, Inc.
 Cerner Corporation
 Charles E. Cartwright
 Cigna Health and Life Insurance Company
 Cigna Healthcare
 Cindi A Sims - Saline County Collec
 City Hillsboro, Kansas
 City of Drumright
 City of Prague
 Community Blood Center
 Community Insurance Company doing business as Anthem Blue Cross and Blue Shield
 Compcare Health Services Insurance Corporation doing business as Anthem Blue Cross and Blue
 Shield
 Comtrix Solutions
 CPP Wound Care #25 LLC
 CPP Wound Care, LLC
 CPSI
 Creek County Treasurer
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 Creekridge Capital
 Daniel Bercu
 David M. Warren
 DELTA Healthcare Providers
 Diagnostic Laboratory of OK
 Doerner, Saunders, Daniel & Anderson, L.L.P.
 Dominion North Carolina Power
 Drumright Regional Hospital
 Drumright Rural Health Clinic
 Emergency Coverage Corp
 Empire HealthChoice Assurance, Inc. doing business as Empire Blue Cross and Blue Shield
 Empower H.I.S LLC
 A Florida limited liability company
 Empower Healthcare, LLC
 a Florida Limited Liability Company
 Empower HMS LLC a Delaware Limited Liability Company
 Erx, LLC
 Fairfax Community Hospital
 Farnam Street Financial Inc.
 First Capital Corporation
 First Liberty
 First Physicians Lending Solutions - Fairfax, LLC
 Fisher Healthcare
 Fox Rothschild
 Fusion Meidcal Staffing
 Gas & Supply
 Gemino Healthcare Finance
 Gene Evans
 GlassRatner
 GlazoSmithKline Pharmaceutical
 Haskell County Community Hospital
 Health Acquisition Company LLC
 A West Virginia limited liability company
 Healthy Alliance Life Insurance Company
 Heartland Pathology Consultant
 Hendren, Redwine & Malone, PLLC
 HERC
 High Point Capital
 Hillsboro Community Hospital
 HIPPA-Guard
 HMC/CAH Consolidated, Inc. A Delaware corporation
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 HMO Healthkeepers, Inc. doing business as Anthem Blue Cross and Blue Shield
 HMO Missouri, Inc.
 Horton City Clerk
 Horton Community Hospital
 Hospital Equipment Rental Co.
 I.T.S. USA
 I-70 COMMUNITY HOSPITAL
 iHealthcare
 iHealthcare II
 iHealthcare, Inc.
 J&J Health Care
 James Shaffer
 Jorge A. Perez
 Judge Dana L. Rasure
 Judge Joseph N. Callaway
 Judge Robert E. Nugent
 KCI USA
 Keith Plummer
 Key Rehabilitation
 Klenda Austerman LLC
 Lab Corp of America Holding
 Labcorp
 Labette County Treasurer
 Landmark National Bank
 Lauderdale Community Hospital
 Lauderdale County Assessor
 Lauderdale County HOPE Foundation
 LGMG, LLC
 Lifeblood/Mido UTH Blood
 M&T Bank
 Marion County Treasurer
 Marjorie K. Lynch
 McCartys
 McKesson
 McKesson Corporation
 McKesson Corporation - RX
 McKesson Medical-Surgical Inc.
 McNair Oil Co.
 Medline Industries, Inc.
 Merrick, Baker & Strauss, P.C.
 Midland
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 Miller EMS, LLC
 Missouri Department of Revenue
 Missouri Network Alliance, LLC
 Mobile Cardiac Care, LLC
 Modular Space Corporation
 N.C. Department of Justice
 Nelson Mullins Riley & Scarborough, LLP
 Netgen Healthcare
 Nortek Medical Staffing, Inc.
 North Carolina Department of Health and Human Services, Division of Health Benefits
 Nthrive Inc.
 OG&E
 Oklahoma Blood Institute
 Oklahome Tax Commission
 Ortho-Clinical Diagnositcs, Inc.
 OSU Foundation
 Oswego Community Hospital
 Patriot Placement Staffing LLC
 Paul L. Nusbaum
 Paulette J. Delk
 Pedro Galvez
 Phusion Marketing Group
 Phyllis Shaffer
 Prague Community Hospital
 Premier Spec Network LLC
 Primeforce Medical Corp
 Psychiatric Medical Care
 Public Building Commission of Hillsboro, Kansas
 Quality Systems, Inc.
 Quest Diagnostics
 R. Lee Webber, Morton & Germany, PLLC
 Ramp Plymouth, PA
 Raymond Howard
 Reboot Inc.
 Reboot, Inc./HIPPA Guard
 Regence BlueCross BlueShield of Oregon
 Regence BlueCross BlueShield of Utah
 Regence BlueShield
 Regence BlueShield of Idaho
 RightCHOICE Managed Care, Inc.
 Ripley City Recorder
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 Robert Venable, M.D.
 Rocky Mountain Hospital and Medical Service, Inc. doing business as Anthem Blue Cross and
 Blue Shield
 Roger and Mary Swearengin
 Rural Community Hospitals of Americ Attn: Steen F. White
 Rural Community Hospitals of America LLC (D.B.A. RCHA)
 Rural Emergency Medical Prov.
 Rural Health Partners, LLC
 Security Bank of Kansas City
 Shared Medical Services Inc
 Shared Medical Services, LLC
 Siemens Healthcare Diagnostics
 Spencer Fane LLP
 Spilman Thomas & Battle, PLLC
 Standley Systems, LLC
 Stars
 Stephani W. Humrickhouse
 Steven F. White
 Stevens & Brand, LLP
 Stinson Leonard Street LLP
 Stone Bank
 Stryker Instruments
 Sysco Food Services
 Sysko of Kansas City
 Sysmex America, Inc.
 The Medical Protective Company
 Thomas W. Waldrep, Jr.
 TN Dept of Labor - Bureau of Unemployment Insurance
 Topeka Health Systems, LLC
 Total Medical Prsnnl Staffing
 Town of Plymouth
 Trial Attorney Carrie Ann Rochrscheib
 Trial Attorney Christopher T. Borniger
 Triplett Woolf Garretson, LLC
 Trucode, LLC
 United Linen Uniform Services
 US Bank
 US Foodservice
 Volente Healthcare LLC
 Waldrep, LLP
 Washington County Hospital
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 Washington County, NC
 Werfen USA Labs
 Westar Energy
 Western Healthcare, LLC
 WPM Pathology Laboratory
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                                        Schedule 2

Relationship Identified                               Services Related to Debtor's Case
Anthem Insurance Companies, Inc. (d.b.a Anthem Blue
Cross and Blue Shield)                                No
US Bank                                               No
Medline Industries, Inc.                              No
CPSI                                                  No
Quest Diagnostics                                     No
Nelson Mullins Riley & Scarborough, LLP               No
Fox Rothschild                                        No
Spencer Fane LLP                                      No
Westar Energy                                         No
McCartys                                              No
Lab Corp of America Holding                           No
Bio Rad Laboratories inc.                             No
Nthrive Inc.                                          No
Ameripride                                            No
Stinson Leonard Street LLP                            No
Quality Systems, Inc.                                 No
First Financial Corp                                  No
Baker Donelson Bearman Caldwell & Berkowitz, PC       No
3M                                                    No
AT&T                                                  No
M&T Bank                                              No
Sysmex America, Inc.                                  No
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                             EXHIBIT B
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April 2, 2019


Thomas W. Waldrep Jr.                                                                             Grant Thornton LLP
                                                                                                  201 S College St
Trustee                                                                                           Charlotte, NC 28244
CAH Acquisition Company 16, LLC d/b/a Haskell County Community Hospital
PO Box 955745                                                                                     T 704.632.3500
                                                                                                  F 704.334.7701
Saint Louis, MO 63195                                                                             www.GrantThornton.com
C/O Waldrep Law LLP
101 S. Stratford Road, Suite 210
Winston Salem, NC 27104




Dear Mr. Waldrep:

Grant Thornton LLP (“Grant Thornton,” “Firm,” or “we”) is pleased to provide professional services (the
“Services”) with respect to Case No 19-01227-5-JNC (the “Case”), and for the benefit of CAH Acquisition
Company 16, LLC d/b/a Haskell County Community Hospital (“Company,” “Debtor,” or “you”). The
purpose of this Engagement Letter (the “Letter”), Attachment A – Standard Grant Thornton LLP
Engagement Terms, and any related Statement(s) of Work (collectively, the “Agreement”), is to confirm the
scope and terms of our engagement based on our mutual understanding. This Agreement is structured to allow
us to offer professional services under a single agreement through the execution of a related Statements of
Work for each project.

The Agreement is effective on April 2, 2019 (the “Effective Date”) and will remain in full force and effect in
accordance with its terms until terminated by either party in accordance with the termination provision set forth
in Attachment A. You have advised us that you will request bankruptcy court approval of the terms of this
Agreement, nunc pro tunc to April 2, 2019.

The Attachment A, as modified to include language previously agreed upon between Grant Thornton and the
Middle District of North Carolina in a similar engagement, is an important part of this Agreement and should
be carefully read.

Given that applicable professional standards, laws, and regulations may change in the future, Grant Thornton
reserves the right to amend this Agreement upon appropriate notice to you and with your consent.

Bankruptcy Court Approval
On March 17, 2019 (the “Filing Date”), the Debtor filed a voluntary petition for relief under chapter 11 title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern
District of North Carolina (the “Bankruptcy Court”). This Agreement, and Grant Thornton’s obligations and
responsibilities relating to this engagement, are expressly subject to and conditioned upon Bankruptcy Court

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approval of the Agreement in its entirety. In the event that the Bankruptcy Court does not approve this
Agreement in its entirety within 30 days of the date of this Agreement, Grant Thornton may, in its sole
discretion, without prejudice to its other rights and remedies and without any liability arising therefrom,
terminate this Agreement. Without limiting the generality of the foregoing, Grant Thornton may, in its sole
discretion, extend the foregoing 30-day deadline for Bankruptcy Court approval. In the event the Bankruptcy
Court approves the Agreement, but deletes or holds unenforceable certain provisions thereof, Grant Thornton
in its sole discretion may accept the Agreement as modified, or may terminate the engagement as set forth
above, all without prejudice to its other rights and remedies. In the event that Grant Thornton elects to
terminate this engagement, then, promptly upon Grant Thornton’s request, the Company hereby agrees to
withdraw or amend any application filed with the Bankruptcy Court to approve Grant Thornton’s retention in
the Case.

Delivering the Services
The Services we provide to you under this Agreement will typically be set forth in distinct Statement(s) of Work
signed by Grant Thornton and your authorized representative, specifying matters including applicable
professional standards, scope, deliverables, timing, fees and payment terms.

From time to time in the course of our relationship, we may perform Services that you request without a
Statement of Work. This Agreement will cover all Services rendered whether or not the parties execute a
Statement of Work. Such Services will be billed at our standard hourly rates or as otherwise mutually agreed.

The Company acknowledges and agrees that the Company’s management is responsible for supplying materially
complete and accurate information, representations, and books and records upon which we must rely. It is
further expressly agreed and understood that Grant Thornton shall have no responsibility or liability for
auditing or verifying the Company’s financial statements and supporting documentation (the “Company’s
Financials”). In performing its services hereunder, all parties in interest understand and acknowledge that Grant
Thornton will be assuming and relying upon the truth and accuracy of the Company’s Financials. Without
limiting the generality of the foregoing, we will not audit or otherwise verify the materials provided to us, nor
will we provide any assurances concerning the reliability, accuracy or completeness of any materials provided
by the Company, the Company’s management or any other party, and our Services cannot be relied upon to
disclose errors or fraud should they exist. We have no responsibility for updating our Services.

Term
This Agreement shall remain in full force and effect in accordance with its terms and conditions and shall
constitute legal, valid, binding, and enforceable obligations of both Grant Thornton and the Company until
terminated by either party in accordance with the termination provision set forth in Attachment A. Because
applicable professional standards, law, and regulations may change in the future Grant Thornton reserves the
right to amend this Agreement upon appropriate notice and your consent.

Other Matters
This Agreement may be executed in any number of counterparts, each of which shall be an original, but such
counterparts shall together constitute one and the same agreement. This Agreement may be executed and
delivered by either party by electronic transmission. For purposes of this Agreement, any signature page signed
and transmitted electronically shall be treated as an original document, and the signature of any party thereon,
for purposes hereof, shall be considered as an original signature and the document transmitted electronically
shall be considered to have the same binding effect as an original signature on an original document.

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                                                                  CAH Acquisition Company 16, LLC d/b/a Haskell County Community Hospital
                                                                                                            Agreement dated April 2, 2019




          ATTACHMENT A - STANDARD GRANT THORNTON LLP ENGAGEMENT
          TERMS

          It is understood and agreed that the terms and conditions in this Attachment A refer to the Grant Thornton letter to
          which it is attached. The addressee of the letter, by signing the letter, has agreed to all of the terms and conditions in
          this Attachment A. In the event that there is a conflict between this Attachment A and the letter, including any
          Statements of Work, attachments, or amendments to the Agreement, the terms of Attachment A shall control. Any
          capitalized terms in this Attachment A that are not defined shall have the meanings in the letter.

          1.         Management Participation and Responsibilities. You will designate at least one management level individual
          who possesses the suitable skill, knowledge, experience, judgment, and willingness to be responsible for overseeing
          the Services on your behalf. You will be solely responsible for applying independent business judgment with respect
          to the Services, including without limitation, establishing and monitoring the performance of the Services to ensure
          the objectives have been met, evaluating the adequacy of the engagement and any recommendations made, exclusively
          rendering decisions that involve management functions related to the engagement, accepting full responsibility for
          decisions on implementation or other further course(s) of action, and establishing and maintaining internal controls.
          Moreover, you will in all events remain responsible for the care and control of your premises, for all internal books
          and recordkeeping, for establishing and maintaining effective internal control systems and for all management
          functions, responsibilities and decisions.

          2.         Business Risk Allocations. The terms of this Section 2 shall apply regardless of the nature of any claim
          asserted (including but not limited to contract, statute, tort, strict liability, or any form of negligence, whether by you,
          Grant Thornton, or others) but such terms shall not apply to the extent finally determined to be contrary to any
          applicable law.

          (a)        Limitation of Liability and Indemnity. Debtor shall, upon the receipt of written notice, indemnify, defend,
          and hold harmless Grant Thornton and its present and former partners, principals, directors, employees, agents, and
          contractors (collectively the “Grant Thornton Firm”) from and against any liability, damages, fees, expenses, losses,
          demands, and costs (including defense costs) associated with any claim arising from or relating to: (i) Debtor’s
          misrepresentations; (ii) false or incomplete information provided to Grant Thornton by Debtor or its agents; or (iii)
          any third party claims related to the Services provided under this Agreement. Debtor agrees to reimburse the Grant
          Thornton Firm for all reasonable expenses, including attorneys’ fees and expenses, as they are incurred in connection
          with the investigation of, preparation for, or defense of, any pending or threatened claim, action, or proceeding arising
          therefrom, whether or not the Grant Thornton Firm is a party. In no event shall Debtor or its estate have any obligation
          to indemnify, defend or hold harmless the Grant Thornton Firm for any claim and/or from any liability, damages,
          fees, expenses, losses, demands, and costs (including defense costs) arising from the Grant Thornton Firm’s gross
          negligence, willful misconduct or fraud. If before the entry of an order closing the Debtor’s chapter 11 case, the Grant
          Thornton Firm believes it is entitled to the payment of any amounts by the Debtor on account of the Debtor’s
          indemnification under the engagement letters, as modified by this Order, including without limitation the advanced of
          defense costs, the Grant Thornton Firm must file an application therefor in this Court, and the Debtor may not pay
          any such amounts to the Grant Thornton Firm before the entry of a final order approving such payment. This
          paragraph is intended only to specify the period during which the Court shall have jurisdiction over any request by
          Grant Thornton for indemnification and is not a provision limiting the duration of the Debtor’s obligation to
          indemnify. Notwithstanding any other provision of the Grant Thornton letter or any attachments thereto, the Debtor
          shall have no obligation to indemnify the Grant Thornton Firm or provide contribution or reimbursement to the
          Grant Thornton Firm for a contractual dispute to the extent such indemnification, contribution, or reimbursement
          would be inconsistent with In re United Artists Theatre Co., 315 F.3d 217, 234 (3d Cir. 2003).

          (b)   IN NO EVENT SHALL THE GRANT THORNTON FIRM BE LIABLE FOR, AND YOU
          HEREBY WAIVE, ANY INDIRECT, SPECIAL, CONSEQUENTIAL, INCIDENTAL, OR




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          EXEMPLARY DAMAGES OR LOSS, INCLUDING WITHOUT LIMITATION, ANY LOST PROFITS,
          TAXES, INTEREST, PENALTIES, LOSS OF SAVINGS, OR LOST BUSINESS OPPORTUNITY.

          In responding to any claim asserted, the Grant Thornton Firm shall avail itself of any defense available to it under
          applicable law, but in no event shall the aggregate liability of the Grant Thornton Firm for any claims, losses or damages
          related to this Agreement exceed an amount that is proportional to the relative fault of the Grant Thornton Firm that
          is finally determined to have caused your losses.

          (c)        Limitation on Period to File Claims. It is expressly agreed that any claim by or on behalf of either party
          arising out of the Services, whether it be in contract, tort, or otherwise, shall be deemed waived if a claim is asserted
          more than two (2) years from the date that the Deliverable is issued.

          3.         Use of Documentation and Reliance. Our professional standards require us to maintain sufficient
          documentation to support our work. This documentation may include copies of your information. However to the
          extent that we have copies of your information, we will protect and safeguard your information from unauthorized
          disclosure.

          You agree to protect all data, materials, deliverables and reports, and opinions delivered to you (the “Deliverables”)
          from unauthorized use and prevent disclosure of the Deliverables to unauthorized third parties who may rely on them.
          Moreover, you agree that we have not and shall not be deemed to assume any duties or obligations to any third party,
          including without limitation an affiliate, subsidiary, parent company or shareholders, partners, members, creditors or
          any third party beneficiaries. Taxing jurisdictions are not considered third parties with respect to tax filings
          contemplated in a Statement of Work.

          Our Deliverables will be based on our interpretation of the federal and state laws, regulations, administrative and
          judicial pronouncements, and other relevant authorities, in effect when we provide our deliverables. All of these
          authorities are subject to change, and such change may be retroactive or prospective in effect. We assume no
          responsibility to either advise you of, or to update our conclusions, for changes in respect to federal and state laws,
          regulations, administrative and judicial pronouncements, and other relevant authorities. As a result, evaluation of our
          Deliverables shall be based solely on its substantial conformance with any standards or specifications expressly set
          forth in this Agreement and applicable law and any claim of nonconformance must be clearly and convincingly shown.

          4.         Third Party Proceedings. Unless expressly provided for in a Statement of Work, our Services do not include
          giving testimony or appearing or participating in discovery proceedings, in administrative hearings, in court, or in other
          legal or regulatory inquiries or proceedings. Moreover, our costs, expenses and time spent in legal and regulatory
          matters or proceedings arising from this Agreement to which we are not a party and the Services are not at issue, such
          as subpoenas, testimony, bankruptcy filings or proceedings, consultation involving private litigation, arbitration,
          government or industry regulation inquiries, whether made at your request or the request of a third party or by
          subpoena or equivalent, will be billed to you separately at our then current rates.

          5.        Access to Resources and Information. Unless specified in a Statement of Work as the responsibility of Grant
          Thornton to provide, you shall have obtained for us on a timely basis any internal and third party permissions, licenses
          or approvals that are required for us to perform the Services contemplated hereunder (including use of any necessary
          software or data). You shall also provide us, on a timely basis, with such information, approvals and assistance as may
          be necessary to our work or as we may reasonably request, and our personnel assigned to any work hereunder shall
          not be assumed or deemed to have knowledge of information provided to others, whether external to or within the
          Grant Thornton Firm.

          6.          Term and Termination. This Agreement will commence on the Effective Date and it will not expire, unless
          earlier terminated as provided in this Attachment A. We shall each have the right to terminate this Agreement, in whole
          or in part, at any time without further obligation to the other by giving not less than thirty (30) days written notice to



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          the other party; provided that in-process Statements of Work shall be completed, except in the event of an uncured,
          material breach. Further, Grant Thornton shall have the right to terminate this Agreement if it discovers practices by
          you that we deem dishonest, fraudulent, or illegal; or we determine that the American Institute of Certified Public
          Accountants, Public Company Accounting Oversight Board, Securities and Exchange Commission, or other applicable
          rules or professional standards result in the Grant Thornton Firm’s inability to complete the work, the Grant Thornton
          Firm may terminate the applicable Statement of Work or this Agreement. In the event that either party terminates this
          Agreement or any or all Statements of Work as set forth in this section, you agree to pay us for the Services, including
          out-of-pocket expenses and costs, rendered up to the date of such termination.

          7.         Use of Third Party Service Providers and Affiliates. Grant Thornton LLP is the U.S. member firm of Grant
          Thornton International Ltd (“GTIL”), a global organization of member firms in over 110 countries. Member firms
          are neither members of one international partnership nor otherwise legal partners with one another. There is no
          common ownership, control, governance, or agency relationship among member firms. Grant Thornton may use
          third-party service providers, such as independent contractors, specialists, or vendors, to assist in providing our
          professional services. We may also use GTIL member firms, other affiliates of Grant Thornton, or other accounting
          firms. Such entities may be located within or outside the United States.

          The member firms of GTIL are intended third-party beneficiaries of this Agreement and are entitled to all the benefits
          and protections contained therein. No other third-party beneficiaries are intended under this Agreement.

          In the event Grant Thornton subcontracts some of the Services to a GTIL member firm, Grant Thornton takes sole
          responsibility for all work performed in relation to this Agreement and Client agrees that, with respect to work that is
          the subject of this Agreement, its sole recourse is against Grant Thornton.

          Additionally, Grant Thornton may use third-parties to provide administrative and operational support to Grant
          Thornton business operations. All of these third party service providers are subject to confidentiality obligations to
          protect the confidentiality of client data. Such entities may be located within or outside the United States.

          8.        Electronic Communications. During the course of our engagement, we may need to electronically transmit
          confidential information to each other and to third-party service providers or other entities engaged by either Grant
          Thornton or you. Electronic methods include telephones, cell phones, e-mail, and fax. These technologies provide a
          fast and convenient way to communicate. However, all forms of electronic communication have inherent security
          weaknesses, and the risk of compromised confidentiality cannot be eliminated. You agree to the use of electronic
          methods to transmit and receive information, including confidential information.

          9.        Privacy. Grant Thornton is committed to protecting personal information. We will maintain such
          information in confidence in accordance with professional standards and governing laws. Therefore, any personal
          information provided to us by the Company will be kept confidential and not disclosed to any third party unless
          expressly permitted by the Company or required by law, regulation, legal process, or professional standards. The
          Company is responsible for obtaining, pursuant to law or regulation, consents from parties that provided the Company
          with their personal information, which will be obtained, used, and disclosed by Grant Thornton for its required
          purposes.

          Notwithstanding anything to the contrary herein, Grant Thornton imposes no conditions of confidentiality on any
          information it provides to you to the extent that it concerns the tax structure or tax treatment of any transaction.

          10.        Basis for Our Conclusions. Our conclusions are limited solely to the matters for which we were engaged.
          No conclusions should be inferred as to any matters not specifically covered in the Agreement. Further, the
          conclusions are based upon the facts and information presented by you and may be inapplicable if the actual facts
          differ from those presented in any respect.

          You represent that we may rely on the following, to the extent applicable, without verification.

          (a)              All original documents, signatures and copies of documents provided by you are authentic.



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          (b)       When only drafts of pertinent documents are available, the executed versions of the draft documents will
          not vary materially from the ones provided by you for examination.

          (c)        There are no inconsistent or adverse facts that are not otherwise provided by you and not apparent from
          the face of the documents that we have relied upon.

          (d)       All legal documents necessary to perform the services have been duly and validly authorized, approved and
          executed by the appropriate persons.

          With respect to (a) – (d) above, you hereby agree not to sue the Grant Thornton Firm and release the Grant Thornton
          Firm from all claims, whether known or unknown, liability, damages, fees, expenses and costs (including defense costs)
          relating to the Services that arise or relate to any information provided by you, your personnel or agents, that is
          misleading, incomplete, or not current.

          11.              Dispute Resolution.

          (a)         Mediation. Any controversy or claim arising out of or relating to the services, related fees or this Agreement
          shall first be submitted to mediation. A mediator will be selected by agreement of the parties, or if the parties cannot
          agree, a mediator acceptable to all parties will be appointed by the American Arbitration Association (“AAA”). The
          mediation will proceed in accordance with the customary practice of mediation and shall be concluded within sixty
          (60) days from receipt of written notice unless the parties agree otherwise. Any facts disclosed related to the mediation
          shall be kept confidential and each side shall pay its own costs of the mediation but will share equally the mediator’s
          expenses.

          (b)        Arbitration. In the event mediation is not successful, then the parties agree that the dispute(s) or claim(s)
          shall be settled by binding arbitration. The provisions herein supersede any contrary arbitral rules that might otherwise
          apply. The arbitration proceeding shall take place in the city in which the Grant Thornton office providing the Services
          is located unless the parties mutually agree to a different location. If the Services that are at issue are provided from
          various Grant Thornton offices, the arbitration will take place in Chicago, Illinois. The proceeding shall be governed
          by the provisions of the Federal Arbitration Act (“FAA”) and will proceed in accordance with the then current Conflict
          Prevention & Resolution (“CPR”) or the similar rules of another arbitration association if one other than CPR is
          selected, except that pre-hearing discovery shall be limited as provided for herein or unless specifically authorized by
          the arbitrators.

                     i. To begin the arbitration process, a party shall provide written notice of the issues to be resolved by
          arbitration (the “Notice”) within fifteen (15) days of the parties’ agreement to terminate or waive mediation, and the
          other party shall respond within twenty one (21) days and shall add any other issues to be resolved within the
          arbitration. The arbitrators shall only resolve those issues identified in the Notice, and issues that are not identified in
          the Notice shall not be arbitrated nor brought to court.

                      ii. The arbitration shall be conducted by three (3) arbitrators. Each party shall select an arbitrator
          experienced in the relevant subject matters within twenty one (21) days of the Notice who shall serve as a neutral
          arbitrator, and the two (2) designated arbitrators shall then select a third neutral arbitrator within twenty one (21) days
          of their selection by the parties. It is the parties’ intention that the two (2) arbitrators selected by the parties be
          “neutrals” who will not be informed as to which party selected them. If the two (2) arbitrators cannot agree on selection
          of a third arbitrator within twenty one (21) days of their appointment, the agency whose rules govern the arbitration
          shall request a list of arbitrators and select a third arbitrator under the agency’s rules within thirty (30) days. If both
          parties are in agreement, the dispute may be heard by one (1) arbitrator selected within sixty (60) days following receipt
          of the Notice.

                     iii. The parties shall not be entitled to discovery except as it directly relates to the underlying Services that
          are at issue between the parties and shall submit a joint proposed schedule to the arbitrator(s) within thirty (30) days



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          of the arbitrator(s)’ selection. Other than described herein, no other discovery is allowed except by the arbitrator(s)
          and only for good cause shown.

                     iv. Except for impeachment-only information, each party must disclose within thirty (30) days after the
          selection of the arbitrator(s): (1) the names, addresses, telephone numbers, and email addresses of persons who have
          knowledge and/or discoverable information relating to the issues submitted for resolution, its claims and defenses;
          and (2) a computation showing each element of claimed damages.

                     v. The parties shall be entitled to take three (3) depositions not to exceed seven (7) hours for each such
          deposition. In addition, each side shall be entitled to depose any expert witness who will testify in the arbitration
          proceeding for no more than seven (7) hours. Each testifying expert shall provide the same materials required under
          Federal Rule of Civil Procedure 26(a)(2)(B). The parties must confer in good faith to resolve all discovery disputes. If
          they cannot resolve these themselves, the parties must attempt to do so in conference with the arbitrator(s). If the
          dispute is not resolved in conference, the arbitrator(s) must promptly rule on the issues. Each side may file dispositive
          motions without obtaining leave from the arbitrator(s), but must first confer with the other side prior to filing any
          dispositive motions. All motions should be filed no later than sixty (60) days prior to the arbitration hearing, unless
          agreed otherwise by the parties or ordered by the arbitrator(s).

                     vi. The arbitrator(s) shall have no authority to award non-monetary equitable relief and will not have the
          right to award indirect, consequential, or punitive damages. The award of the arbitration shall be in writing and shall
          be accompanied by a well-reasoned opinion. The award issued by the arbitrator(s) may be confirmed in a judgment by
          any federal or state court of competent jurisdiction. Each party shall be responsible for its own costs associated with
          the arbitration, except that the costs of the arbitrator(s) shall be equally divided by each side involved in the arbitration.
          The arbitration proceeding and all information disclosed during the arbitration shall be maintained as confidential,
          except as may be required to confirm the award, for disclosure to professional or regulatory bodies, as required by law
          or a court of law, or in a related confidential mediation or arbitration.

          12.              General.

          (a)              Neither party shall assign any rights, obligations or claims relating to this Agreement.

          (b)       Neither party shall be liable for any delay or failure in performance due to circumstances beyond its
          reasonable control.

          (c)       Except for GTIL member firms and Grant Thornton affiliates, no third-party beneficiaries are intended
          under this Agreement.

          (d)              Neither party shall use the other’s name, service marks, or trademarks without prior written consent.

          (e)        This Agreement, including its formation and the parties’ respective rights and duties and all disputes that
          might arise from or in connection with this Agreement or its subject matter, shall be governed by and construed in
          accordance with the laws of Illinois, without giving effect to conflicts of laws rules. The parties consent to the personal
          jurisdiction of the courts of the state where the Grant Thornton office performing the Services is located and the
          United States District Court for the District of such state, and the parties waive objection to venue in any of these
          courts.

          (f)         Each party is an independent contractor with respect to the other and shall not be construed as having a
          trustee, joint venture, agency or fiduciary relationship.

          (g)      If any portion of this Agreement is held invalid, it is agreed that such invalidity shall not affect any of the
          remaining portions. Furthermore, if the Services are subject to the independence rules of the U.S. Securities and



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          Exchange Commission (“SEC”) with respect to you, such that any provision in this Agreement would impair our
          independence under the SEC’s rules, such provision shall, to that extent, be of no further force and effect and the
          Agreement shall consist of the remaining provisions.

          (h)     This Agreement, including any other incorporated attachments, sets forth the entire understanding between
          and among the parties regarding the Services and supersedes all prior and contemporaneous agreements, arrangements
          and communications and may not be modified or amended, except by the mutual written agreement of both parties.

          (i)       The clauses regarding liability limitations, third party proceedings, indemnification and resolution of
          differences shall survive any termination of this Agreement.

          13.        Personnel. During the term of this Agreement and for a period of one (1) year after the Services are
          completed, we both agree not to solicit, directly or indirectly, or hire, the other’s personnel participating on an
          engagement without express written consent. If this provision is violated, the violating party will pay the other party
          a fee equal to the hired person’s annual salary in effect at the time of the violation to reimburse the estimated costs of
          hiring and training replacement personnel, unless the individual is hired in response to a general advertisement made
          available to the public.

          14.        Successors and Affiliates. Recognizing that at times Grant Thornton’s work may pertain not only to you but
          also to various subsidiaries, affiliates, advisors and contractors, partnerships, companies, trusts or foundations, you
          agree, as may be requested by Grant Thornton from time to time (including subsequent to completion of the Services),
          to obtain written acceptance of the terms of this Agreement. Furthermore, you represent and warrant that this
          Agreement shall be binding on each party hereto and on each of your respective subsidiaries, successors, assigns and
          legal representatives.

          15.        Reportable Transactions. Taxpayers are required to disclose their participation in certain types of
          transactions (“Reportable Transactions”) on forms filed with their federal income tax returns and/or with the IRS
          Office of Tax Shelter Analysis, and with agencies of certain states that impose similar requirements. Failure to adhere
          to Reportable Transaction disclosure and filing requirements may result in the imposition of significant penalties under
          applicable federal and/or state law. We may be a “Material Advisor” with regard to Services provided to you and we
          may be subject to our own federal and/or state reporting, registration and list maintenance obligations, which are
          separate and independent of any taxpayer disclosure obligation. We may be required to maintain and disclose to
          applicable federal and/or state regulatory agencies certain information regarding your participation in a Reportable
          Transaction, including your name and federal identification number, and other information as required.

          Except as specifically stated in this Agreement, Grant Thornton does not assume any obligation to express any opinion
          on, provide any advice related to, or identify from any information provided by you or obtained by us during the
          course of providing Services to you under this Agreement, whether any particular transaction is a Reportable
          Transaction or the potential consequences of non-compliance with disclosure and filing requirements pertaining to a
          Reportable Transaction. Reliance on any opinion or advice we may provide regarding whether a transaction is or is
          not a Reportable Transaction and /or any disclosure and filing requirements may not avoid the imposition of any
          penalty imposed on you under federal or state law for the failure to comply with such disclosure and filing obligations.

          16.       Privileges Relating to Taxpayer Communications. Any advice given by Grant Thornton with respect to a
          matter that is within the scope of our authority to practice before the IRS may be privileged under federal and state
          laws. This privilege may be asserted in any non-criminal tax matter before the IRS and in any non-criminal tax
          proceeding in Federal court and may be asserted to the extent such communication would be considered privileged
          communication if it were between a taxpayer and an attorney. At your sole cost and expense, we will cooperate with
          your efforts to assert taxpayer privileges when we receive a demand or inquiry for your information to the extent
          required by law.




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This Statement of Work (“Statement of Work”) dated April 2, 2019 becomes a part of and is subject to the
terms and conditions of the Engagement Letter and related Attachment A – Standard Grant Thornton LLP
Engagement Terms dated April 2, 2019 between CAH Acquisition Company 16, LLC d/b/a Haskell County
Community Hospital (“Client”, “Company” or “you”) and Grant Thornton LLP (“Grant Thornton,” “Firm,”
or “we”). Any capitalized terms that are not defined in this Statement of Work shall have the meanings set forth
in the Engagement Letter and Attachment A – Standard Grant Thornton LLP Engagement Terms. The
purpose of this Statement of Work is to describe the Scope of Services (“Services”) the Company is requesting
Grant Thornton to perform, and to set forth the agreed fee, timing, and other matters related to the Services.

Objective of Our Assignment
Below is a list of the Services it is anticipated that Grant Thornton may provide to the Company. Our approach
and work plan is based on the procedures, analysis and budget requested by you. Our Services will be performed
in accordance with the Statement on Standards for Consulting Services issued by the American Institute of Certified
Public Accountants.

Scope of Our Work
Our Services will consist of reading financial statements and other records, making inquiries of the Company’s
management and analyzing the information obtained. Accordingly, the completion of our report will require
cooperation of the Company’s management. The Services section below will indicate the specific areas that you
have requested us to address during this engagement.

Our Services do not constitute an audit or review of the financial statements or any part thereof, the objective
of which is the expression of an opinion or limited assurance on the financial statements, or a part thereof, or
verification of the accuracy of the Company’s management responses to our inquiries.

Our Services should not be relied upon to disclose errors, irregularities, or illegal acts, including fraud or
defalcations.

Further, because of the importance of the information that is provided to Grant Thornton with respect to our
ability to perform the Services, you hereby release the Grant Thornton Firm from any liability, damages, fees,
expenses and costs (including defense costs) relating to the Services, that arise from or relate to any information
(including representations by management) provided by you, or any third party, that is not complete, accurate
or current.

Limited Distribution of Our Report(s)
Our findings may be communicated to you in one or more written reports. The reports will be supplemented
with oral commentary, which will be an integral part of the presentation. The presentation of our findings to
you will constitute satisfactory completion of our work. Our reports cannot be distributed to third parties
without our prior written approval.

Conflict of Interest Disclosure
From time to time, we may encounter certain instances that in our view give rise to a potential conflict of
interest between the Services we are going to perform and services that we may already be performing for an


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existing client. In such cases, we shall notify you of such a conflict and seek appropriate advance written consent
from all parties prior to providing Services.

The Services
The Services we will provide under this Statement of Work consist of bankruptcy advisory services relating to
the involuntary bankruptcy filing by the Company.

Below is a list of the Services it is anticipated that Grant Thornton may provide to the Company:

(i)               Analyze the Company’s financial position, business plans and financial projections prepared by
                  management including, but not limited to, commenting on assumptions and comparing those
                  assumptions to historical Company and industry trends;
(ii)              Consult with the Trustee on the assessment of a bankruptcy exit strategy;
(iii)             Consult with the Trustee in connection with the development of financial projections;
(iv)              Assist the Trustee with its communications with customers, suppliers, statutory committees, and
                  other parties-in-interest;
(v)               Analyze the Company’s rolling 13-week cash receipts and disbursements forecast and assess
                  liquidity and DIP financing needs;
(vi)              Consult with the Trustee regarding their valuation of the Company on a going-concern and
                  liquidation basis;
(vii)             Consult with the Trustee, in coordination with legal counsel, in the preparation of a disclosure
                  statement, plan of reorganization and the underlying business plans from which those documents
                  are developed;
(viii)            Assist the Trustee, in coordination with legal counsel, in evaluating competing disclosure
                  statements, plans and other strategic proposals made by the Committee of Unsecured Creditors
                  or other interested parties in the Case;
(ix)              Assist the Trustee in responding to information requests submitted by statutory committees and
                  their legal and/or financial counsel;
(x)               Assist the Trustee with its vendor management program;
(xi)              Consult with the Trustee regarding the preparation of required financial statements, schedules of
                  financial affairs, monthly operating reports, and any other financial disclosures required by the
                  Bankruptcy Court;
(xii)             Provide expert advice and testimony regarding financial matters related to, including, among other
                  things, the feasibility of any proposed plan of reorganization, and the valuation of any securities
                  issued in connection with any such plan; and,
(xiii)            Provide additional services as requested from time to time by the Company and agreed to by Grant
                  Thornton.

Grant Thornton and the Company recognize that certain services listed above may not be performed or that
certain other services may be performed depending on facts and circumstances that may emerge during the
course of this engagement. In the event that Grant Thornton determines, in its sole discretion, that additional
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Services requested are beyond the scope of this original engagement, the Company agrees to file a motion
seeking to approve the expansion of Grant Thornton’s retention to include these additional Services.

GT US Shared Services Center India Private Limited (“GTSSC”) and/or the Grant Thornton Knowledge and
Capability Center India Private Limited (“KCC”), affiliates of Grant Thornton located in Bangalore, India –
may assist us in providing our professional services.

Additional Services Available – Change Order
It is understood that during the performance of the procedures, additional items may arise that you determine
require additional investigation. While such additional investigation is not contemplated by this Statement of
Work, or our fee estimate, we will be pleased to perform any additional procedures you deem necessary and
request in writing. Prior to performing any additional procedures, we will discuss the scope of the procedures
with you and the related fees in a change order or in a writing describing the additional work. Any additional
procedures performed are subject to all the terms and conditions of this Agreement.

Fees and Expenses
Scott Davis will maintain overall responsibility for the engagement and will provide field support services and
coordinate daily management of the engagement. Other professionals who may be identified during the course
of the engagement may also provide additional services.

Fees are based on actual hours incurred and the following hourly billing rates for the resources utilized. The
hourly rates charged by Grant Thornton for the Services provided by its personnel differ based upon, among
other things, each professional’s level of experience, and types of Services being provided. In the ordinary
course of business, Grant Thornton periodically revises its hourly rates to reflect promotions and other changes
in personnel responsibilities, increases in experience, and increases in the cost of doing business. The next rate
change is expected to occur on or about August 1, 2019.

In exchange for the Services summarized previously, Grant Thornton will be entitled to compensation at
discounted hourly rates for professional services. The professional fees shall be calculated by multiplying the
actual hours expended providing the agreed-upon Services by the discounted hourly billing rates for the specific
personnel involved. At present, Grant Thornton’s standard hourly rates and applicable discounted hourly rates
by classification are as follows:

          Professional                                 Standard Hourly Rates    Discounted Hourly Rates
          Partner / Principal                          $870                     $620
          Managing Director                            $800                     $620
          Director                                     $710                     $500
          Senior Manager                               $710                     $500
          Manager                                      $590                     $450
          Senior Associate                             $450                     $310
          Associate                                    $320                     $250



Changes in regular hourly rates will be noted on the invoices for the first period in which the revised rates
become effective.


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We will provide regular communication (written or verbal) on the status of our fees during the life of the
engagement. If it appears that the stated fee estimate will be exceeded, we will consult with you before
continuing with the engagement.

In addition, Grant Thornton will be entitled to reimbursement of reasonable expenses incurred in connection
with this engagement, including but not limited to travel, report production, delivery services, photocopying
and other costs incurred in providing the Services. Our expenses will include an administrative charge of 6.0%
of standard fees to cover items such as copies, postage, supplies, computer and technology usage, software
licensing, research and library databases, and similar expense items.

Grant Thornton will also request compensation for any time and expenses (including, without limitation,
reasonable legal fees and expenses of Grant Thornton’s own counsel) that may be incurred in considering or
responding to discovery requests or other requests for documents or information, or in participating as a
witness or otherwise in any legal, regulatory, or other proceedings arising from or relating to Grant Thornton’s
performance of these Services.

From time to time, Grant Thornton may receive certain incentives in the form of bonuses and rewards from
its corporate card and other vendors. Such incentives to the extent received will be retained by Grant Thornton
to cover firm expenses.

Bills for our Services will be issued periodically. Our fees are not contingent upon the confirmation of a Plan
of Reorganization. Invoices are due upon receipt.

The Company understands and acknowledges that Grant Thornton will apply for compensation for
professional services to be rendered in connection with this Chapter 11 case and for reimbursement of expenses
incurred, in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local
Bankruptcy Rules of the United States Bankruptcy Court for the Eastern District of North Carolina, the
applicable United States Trustee Guidelines, and any applicable orders of this Court (the “Payment Rules,
Guidelines and Orders”). Payment of fees and reimbursement of expenses will be subject to ultimate allowance
and approval by the Bankruptcy Court, and any additional orders governing interim payment of professionals
in the Case.

Grant Thornton does not have any agreement to share its revenues from the Services for which it is seeking to
be retained hereunder with any other non-affiliated entity. Grant Thornton has not been paid any retainer
against which to bill fees and expenses incurred in this case.

Entire Agreement
This Statement of Work represents the parties’ entire understanding with respect to the Services in this
document. This Statement of Work does not modify or amend the Agreement. In the event of a conflict
between this Statement of Work, Attachment A – Standard Grant Thornton LLP Engagement Terms, and any
other exhibit or attachment included in the Agreement, the terms of the Attachment A shall govern.




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This Statement of Work (“Statement of Work”) dated April 4, 2019 (along with Attachment B, below)
becomes a part of and is subject to the terms and conditions of the Engagement Letter and related
Attachment A – Standard Grant Thornton LLP Engagement Terms dated April 2, 2019 between CAH
Acquisition Company 16, LLC d/b/a Haskell County Community Hospital (“Client”, “Company” or “you”)
and Grant Thornton LLP (“Grant Thornton,” “Firm,” or “we”). Any capitalized terms that are not defined in
this Statement of Work shall have the meanings set forth in the Engagement Letter, Attachment A – Standard
Grant Thornton LLP Engagement Terms, or Attachment B. The purpose of this Statement of Work is to
describe the Scope of Services (“Services”) the Company is requesting Grant Thornton to perform, and to set
forth the agreed fee, timing, and other matters related to the Services.

Objective of Our Assignment
Below is a list of the Services it is anticipated that Grant Thornton may provide to the Company. Our approach
and work plan is based on the procedures, analysis and budget requested by you. Our Services will be
performed in accordance with the Statement on Standards for Consulting Services issued by the American Institute of
Certified Public Accountants.

Scope of Our Work
Our Services will consist of performing certain digital forensic procedures, making inquiries of the Company’s
management and third-party service providers, and analyzing the information obtained. Accordingly, the
completion of our report will require cooperation of the Company’s management (as well as the cooperation
of management’s third-party service providers). The Services section below will indicate the specific areas that
you have requested us to address during this engagement.

Our Services do not constitute an audit or review of the financial statements or any part thereof, the objective
of which is the expression of an opinion or limited assurance on the financial statements, or a part thereof, or
verification of the accuracy of the Company’s management responses to our inquiries. Our Services should
not be relied upon to disclose errors, irregularities, or illegal acts, including fraud or defalcations. Further,
because of the importance of the information that is provided to Grant Thornton with respect to our ability to
perform the Services, you hereby release the Grant Thornton Firm from any liability, damages, fees, expenses
and costs (including defense costs) relating to the Services, that arise from or relate to any information (including
representations by management) provided by you, or any third party, that is not complete, accurate or current.

Additionally, Client acknowledges that any electronic media to be collected may have pre-existing damage or
other problems and that we (and our affiliates and agents) do not assume responsibility for such damage or
further problems resulting therefrom. In addition, with respect to such Services, you have or will take
responsibility that:
            i     To the best of your knowledge and belief after due inquiry, Client has the right to be in
                  possession of, or is the owner of, all equipment/data/media furnished to or collected by us on
                  your behalf;
            ii    Such equipment/data/media is furnished to Grant Thornton LLP for a lawful purpose; and
            iii Collection, possession, processing, and transfer of such equipment/data/media comply with all
                applicable laws and, regulations.

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Limited Distribution of Our Report(s)
Our findings may be communicated to you in one or more written reports. The reports will be supplemented
with oral commentary, which will be an integral part of the presentation. The presentation of our findings to
you will constitute satisfactory completion of our work. Our reports cannot be distributed to third parties
without our prior written approval.

Conflict of Interest Disclosure
From time to time, we may encounter certain instances that in our view give rise to a potential conflict of
interest between the Services we are going to perform and services that we may already be performing for an
existing client. In such cases, we shall notify you of such a conflict and seek appropriate advance written
consent from all parties prior to providing Services.

The Services
The Services we will provide under this Statement of Work consist of bankruptcy advisory services relating to
the involuntary bankruptcy filing against the Company. Below is a list of the Services it is anticipated that Grant
Thornton may provide to the Company:
(i)               Analyze the Company’s Information Technology (“IT”) infrastructure, storage media, and third-
                  party systems;
(ii)              Consult with the Trustee on the assessment of Company’s IT systems;
(iii)             Consult with the Trustee in connection with the development of data-preservation and data-
                  collection efforts described in this Statement of Work;
(iv)              Provide digital forensic and related services (including, but not limited to, forensic preservation
                  and collection of electronic data), to be performed at the direction of the Trustee;
(v)               Assist the Trustee with its communications with third-party IT providers and other parties-in-
                  interest;
(vi)              Assist the Trustee in responding to information requests submitted by statutory committees and
                  their legal and/or financial counsel; and
(vii)             Provide additional services as requested from time to time by the Company and agreed to by Grant
                  Thornton.
Grant Thornton and the Company recognize that certain services listed above may not be performed or that
certain other services may be performed depending on facts and circumstances that may emerge during the
course of this engagement. In the event that Grant Thornton determines, in its sole discretion, that additional
Services requested are beyond the scope of this original engagement, the Company agrees to file a motion
seeking to approve the expansion of Grant Thornton’s retention to include these additional Services.

GT US Shared Services Center India Private Limited (“GTSSC”) and/or the Grant Thornton Knowledge and
Capability Center India Private Limited (“KCC”), affiliates of Grant Thornton located in Bangalore, India –
may assist us in providing our professional services.



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Additional Services Available – Change Order
It is understood that during the performance of the procedures, additional items may arise that you determine
require additional investigation. While such additional investigation is not contemplated by this Statement of
Work, or our fee estimate, we will be pleased to perform any additional procedures you deem necessary and
request in writing. Prior to performing any additional procedures, we will discuss the scope of the procedures
with you and the related fees in a change order or in a writing describing the additional work. Any additional
procedures performed are subject to all the terms and conditions of this Agreement.

Fees and Expenses
Johnny Lee will maintain overall responsibility for the scope of the engagement described in this Statement of
Work and will provide field support services and coordinate daily management of the engagement. Other
professionals who may be identified during the course of the engagement may also provide additional services.

Fees are based on actual hours incurred and the following hourly billing rates for the resources utilized. The
hourly rates charged by Grant Thornton for the Services provided by its personnel differ based upon, among
other things, each professional’s level of experience, and types of Services being provided. In the ordinary
course of business, Grant Thornton periodically revises its hourly rates to reflect promotions and other changes
in personnel responsibilities, increases in experience, and increases in the cost of doing business. The next rate
change is expected to occur on or about August 1, 2019.

In exchange for the Services summarized previously, Grant Thornton will be entitled to compensation at
discounted hourly rates for professional services. The professional fees shall be calculated by multiplying the
actual hours expended providing the agreed-upon Services by the discounted hourly billing rates for the specific
personnel involved. At present, Grant Thornton’s standard hourly rates and applicable discounted hourly rates
by classification are as follows:

          Professional                                 Standard Hourly Rates    Discounted Hourly Rates
          Partner / Principal                          $870                     $620
          Managing Director                            $800                     $620
          Director                                     $710                     $500
          Senior Manager                               $710                     $500
          Manager                                      $590                     $450
          Senior Associate                             $450                     $310
          Associate                                    $320                     $250

Changes in regular hourly rates will be noted on the invoices for the first period in which the revised rates
become effective.




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We will provide regular communication (written or verbal) on the status of our fees during the life of the
engagement. If it appears that the stated fee estimate will be exceeded, we will consult with you before
continuing with the engagement.

In addition, Grant Thornton will be entitled to reimbursement of reasonable expenses incurred in connection
with this engagement, including but not limited to travel, report production, delivery services, photocopying
and other costs incurred in providing the Services. Our expenses will include an administrative charge of 6.0%
of standard fees to cover items such as copies, postage, supplies, computer and technology usage, software
licensing, research and library databases, and similar expense items.

Grant Thornton will also request compensation for any time and expenses (including, without limitation,
reasonable legal fees and expenses of Grant Thornton’s own counsel) that may be incurred in considering or
responding to discovery requests or other requests for documents or information, or in participating as a
witness or otherwise in any legal, regulatory, or other proceedings arising from or relating to Grant Thornton’s
performance of these Services.

From time to time, Grant Thornton may receive certain incentives in the form of bonuses and rewards from
its corporate card and other vendors. Such incentives to the extent received will be retained by Grant Thornton
to cover firm expenses. Bills for our Services will be issued periodically. Our fees are not contingent upon the
confirmation of a Plan of Reorganization. Invoices are due upon receipt.

The Company understands and acknowledges that Grant Thornton will apply for compensation for
professional services to be rendered in connection with this Chapter 11 case and for reimbursement of expenses
incurred, in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local
Bankruptcy Rules of the United States Bankruptcy Court for the Eastern District of North Carolina, the
applicable United States Trustee Guidelines, and any applicable orders of this Court (the “Payment Rules,
Guidelines and Orders”). Payment of fees and reimbursement of expenses will be subject to ultimate allowance
and approval by the Bankruptcy Court, and any additional orders governing interim payment of professionals
in the Case.

Grant Thornton does not have any agreement to share its revenues from the Services for which it is seeking to
be retained hereunder with any other non-affiliated entity. Grant Thornton has not been paid any retainer
against which to bill fees and expenses incurred in this case.

Entire Agreement
This Statement of Work represents the parties’ entire understanding with respect to the Services in this
document. This Statement of Work does not modify or amend the Agreement. In the event of a conflict
between this Statement of Work, Attachment A – Standard Grant Thornton LLP Engagement Terms, and any
other exhibit or attachment included in the Agreement, the terms of the Attachment A shall govern.




                                                                                                              4

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Attachment B – Forensic Technology Services
The terms in this Attachment B apply to the Statement of Work dated April 4, 2019 for the Services to be
provided by Grant Thornton LLP (“Grant Thornton LLP”, “we” or “us”) to CAH Acquisition Company 16,
LLC d/b/a Haskell County Community Hospital (“Client”, “Company” or “you”). In the event that there is
a conflict between the Agreement and this Attachment B, the terms of this Attachment B shall control. Any
capitalized terms herein that are undefined shall have the meaning assigned to them elsewhere in the Agreement.

    1   Data Analytics
              a.    Database Fees
    Standard
    Database Set-up             Creation of a database where data can be stored and analyzed                                      $2,250 per
                                If requested, field-level encryption can be implemented within the                                database
                                 Standard Database.

    Standard                    Monthly hosting charge per database.                                                              $750 per
    Database                                                                                                                       month
    Hosting

    Encrypted                   The creation of a dedicated, matter-specific database with full                                   $4,500 per
    Database Set-up              database encryption.                                                                              month per
    & Hosting                                                                                                                      database1

    Database                    Data will be removed from an active database and archived                                         $250 per
    Archiving                    offline (on separate media).                                                                      month per
                                This charge will persist until the archived data are returned to the                              database
                                 Client or are destroyed, each at the written request of the Client.

              b.    Data Visualization Fees

    Visualization               Visualization Server site accessible to Client via the Internet.                                  $2,500 per site2
    Server Site Set-
    up

    Visualization               A user login so that the Client can access the Visualization Server                               $500 per user,
    User Licensure               site.                                                                                             per month




1   This pricing is for each database that stores up to one (1) Terabyte of data. Each additional Terabyte of data (beyond the first Terabyte) incurs an
    additional charge of $250 per month.
2   Please note that Database Archiving fees will apply for all established data visualization sites regardless of whether such sites have active Server
    Users.
                                                                                                                                                           6

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    2   Evidence Collection Fees


    Forensic Imaging            Forensically sound, bit-by-bit copy of a storage device, including                               $800 – $1,250
                                 chain-of-custody documentation.                                                                  per
                                                                                                                                  Device/Drive
                                                                                                                                  (up to 2 TB)3

    Server Share                Forensically sound, bit-by-bit copy of server share files, including                             $1,000 –
    Logical Image                chain-of-custody documentation.                                                                  $1,200 per
                                                                                                                                  Server Share3

    Backup Tape                 A comprehensive listing of all files resident on a backup tape.                                  $150 – $200
    File Listing                                                                                                                  per Backup
                                                                                                                                  Tape

    Backup Tape                 The extraction of data from a given backup tape to new media.                                    $250 – $300
    Data Extraction                                                                                                               per Backup
                                                                                                                                  Tape3,4

    3   Data Processing and Review
        a. Data Processing


    Processing Set-             Fee related to the steps involved with the ingestion of a logical                                $500 per
    Up                           unit of data processing.                                                                         Logical Unit5

    Processing &                Extracted Data from data sources are processed within an                                         $75 - $150 per
    Review                       eDiscovery platform.                                                                             GB6
    Promotion                   De-duplication can be performed post-processing, either globally
                                 or per custodian.
                                The promotion of fully processed and delimited subset(s) of data
                                 from the original data sources provided by Client.

    Optical                     Perform Optical Character Recognition (OCR) on additional data                                   $35 per GB7
    Character                    to extract text content upon request
    Recognition




3   Note that this process requires that content be written to sterile media. The actual cost of such media will be billed separately as an expense.
4   Extraction of data will be performed as stated above for up to two (2) hours. Extractions that exceed two (2) hours will be charged at the prevailing
    hourly rates until extraction is complete.
5   A “logical unit” of processing is defined as one data source for one custodian.
6   The per-GB charge is based upon total data volume to be processed, with total data volume calculated as the raw data volume following the
    extraction and expansion of any container files.
7   This OCR capability subjects processed data to another layer of machine processing to perform OCR on individuated files. As such, this cost is
    additional to the Processing cost outlined above. Manual quality reviews of machine-based OCR are also available, and such work is performed
    upon request at the prevailing hourly rates.
                                                                                                                                                        7

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     Load File                    Known file exclusion as requested based on public list (e.g. NIST                                       $150 per GB8
     Creation                      Reference Data Set) or list provided by Client.
                                  Processed and indexed data are formatted into an industry-
                                   standard file format, suitable for import into a chosen review
                                   platform.

     Machine                      The use of software to translate file text from one language to                                         $0.12 - $0.15
     Translation                   another                                                                                                 per file9

     Load File                    Importation of data sets that were previously indexed and                                               $125 per GB
     Ingestion                     catalogued by an eDiscovery processing platform.
                                  Upon ingestion, data delimiters (e.g., search terms) can be applied
                                   and made available for review.

        b. Analytics / Hosting / Review


     Document                      Documents are imaged from our eDiscovery Platform into TIFF                                            No unit-based
     Imaging                        or JPG format and made available for redaction, highlighting and                                       charge10
                                    production

     Conceptual                    Group documents into clusters based on conceptual relationships                                        $200 per GB11
     Analytics /                    to help quickly understand the case and identify important topics
     Assisted Review               Automatically categorize documents within a project based upon
     (“Predictive                   training sets coded by a subject matter expert from Client
     Coding”)                      Identification of similar documents by concept or textual analysis
                                    to increase the efficiency of review workflows and enhance
                                    quality control review
                                   Email threading to enable advanced workflows that defensibly
                                    reduce the review population

     User Licensing                Per-user (i.e., per reviewer) monthly license to use the platform                                      $100 per user
                                                                                                                                           per month

     Offline Hosting               Storage of all matter-related data on GT servers.                                                      $5 per GB per
                                                                                                                                           month

     Data Hosting                  Storage of matter-related data on active review platform.                                              $10 - $35 per
                                                                                                                                           GB per month


8    This charge pertains to the exporting of processed data from a Grant Thornton eDiscovery platform to load in another review platform, and the
     cost range varies based upon data volume.
9    This $0.15 per-file cost applies to the first 1,000,000 files translated. Files processed in excess of 1,000,000 will be translated at $0.12 per file. Please
     note that files greater than 20KB in size will be split into 20KB segments, with each 20KB segment of a file incurring the translation cost of $0.15
     or $0.12 per file (segment), depending on the current overall count of files. There is a $2,000 minimum charge for machine translation services.
10   While there is no unit-based charge for document imaging, the time and materials required for the Grant Thornton team to assist with these items
     will be charged at the prevailing hourly rates.
11   This per-GB charge is a one-time fee incurred when data are added (or “promoted”) to the enhanced Analytics module of the eDiscovery review
     platform.
                                                                                                                                                                     8

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4       Other Matters
              a.    All other e-Discovery project management aspects are charged on a time-and-material basis at the
                    hourly rates agreed upon within an executed engagement letter. These may include, but are not
                    limited to, the following:
                          Intake, inventory, and cataloguing of received data and evidence;
                          Decryption of encrypted or password-protected file(s)12;
                          Advanced creation of search-term queries and the application of these to existing data
                             sets;
                          Customizations to review, issue codes, or coding panels;
                          Production requests;
                          Creation of customized reports; and
                          Other consultative services, as requested.

        Computer forensics and data analysis procedures will be performed on a time-and-materials basis at the
        hourly rates agreed upon within this Agreement.




12   Such files will be identified, and a list will be provided to the Client. Written approval is sought and obtained prior to incurring billable time on this
     kind of work.
                                                                                                                                                              9

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                          BUSINESS ASSOCIATE AGREEMENT
                            FOR HEALTH CARE PROVIDERS


   This Agreement is entered into by and between CAH Acquisition Company 16, LLC d/b/a
   Haskell County Community Hospital (“Covered Entity”) and Grant Thornton LLP
   (“Business Associate”) to set forth the terms and conditions under which "Protected Health
   Information"(“PHI”), as defined by the Health Insurance Portability and Accountability Act
   of 1996, and any modifications and/or amendments as may hereinafter, from time to time,
   become effective (HIPAA) as well as Subtitle D of the Health Information Technology for
   Economic and Clinical Health Act (the "HITECH Act"), as Title XIII of Division A and Title
   IV of Division B of the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   and Regulations enacted thereunder, received by Business Associate on behalf of Covered
   Entity may be used or disclosed.

   This Agreement is subject to approval by the United States Bankruptcy Court for the Eastern
   District of North Carolina and the obligations herein shall continue in effect so long as
   Business Associate uses, discloses, or otherwise possesses any PHI received by and/or on
   behalf of Covered Entity. In the event that there is any conflict between this Agreement and
   the engagement letter between the parties, this Agreement shall control.

   1.       Business Associate may use and disclose PHI created, received, maintained or
   transmitted by Business Associate on behalf of Covered Entity if necessary to perform the
   functions, activities, or services for, or on behalf of, Covered Entity (collectively, the
   “Services”), as specified in Statement of Work, dated April 4, 2019 (the “Services Agreement”),
   or if necessary for the proper management of Business Associate, provided that any disclosure
   is:

          a. Required by Law, or

          b. Business Associate obtains reasonable assurances from the person to whom the
             PHI is disclosed that (i) the PHI will be held confidentially and used or further
             disclosed only as required by law or for the purpose for which it was disclosed to
             the person; and (ii) the Business Associate will be notified of any instances of
             which the person is aware in which the confidentiality of the information is
             breached, or

          c. Required to perform the Services.

   2.      a.      Business Associate hereby agrees to maintain the confidentiality, security and
   privacy of all PHI in a manner consistent with state and federal laws and regulations, including
   the HIPAA, the HITECH Act and Regulations thereunder, and all other applicable law.
   Business Associate shall only use and disclose PHI if such use or disclosure complies with
   each applicable requirement of 45 C.F.R. § 164.504(e). Business Associate shall be directly
   responsible for full compliance with the relevant requirements of the Privacy Rule and the
   Security Rule to the same extent as Covered Entity.
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          b.       Furthermore, in the event of an unauthorized use or disclosure of PHI or a
   Breach of Unsecured PHI, Business Associate shall mitigate, to the extent practicable, any
   harmful effects of said unauthorized use or disclosure that are or should be known to it.
   “Breach” shall have the same meaning as the term "breach" in 45 CFR 164.402 and §13400 of
   the HITECH Act and shall include the unauthorized acquisition, access, use, or disclosure of
   PHI that compromises the security or privacy of such information. “Unsecured PHI” shall
   mean PHI that is not secured through the use of a technology or methodology specified by
   the Secretary in guidance or as otherwise defined in 45 CFR 164.402 and § 13402(h) of the
   HITECH Act.

   3.      In respect to the HIPAA security standards as codified in 45 CFR Parts 160 and 164
   (the “Security Rule”), the Business Associate will:

          a. Implement administrative, physical, and technical safeguards that reasonably and
             appropriately protect the confidentiality, integrity, and availability of the Electronic
             Protected Health Care Information or “EPHI”, as defined in 45 CFR Section
             160.103, that it creates, receives, maintains, or transmits on behalf of the Covered
             Entity;

          b. Ensure that any agent, including a subcontractor, to whom it provides such
             information agrees in writing to a Business Associate Agreement no less protective
             than this Agreement including the obligation to comply with the Security Rule; and

          c. Business Associate agrees that it shall request from Covered Entity and disclose to
             its affiliates, subsidiaries, agents and subcontractors or other third parties, only a
             Limited Data Set or, if that is not practicable, only the minimum necessary PHI to
             perform or fulfill a specific function required or permitted hereunder;

          d. Report to the Covered Entity any Security Incident, as defined in 45 CFR Section
             164.304, in the following time and manner:

                  (i)     any actual, successful Security Incident will be reported to the Covered
                          Entity as soon as practicable, and in any event, in writing within ten
                          (10) business days of the date on which the Business Associate
                          becomes aware of such actual successful Security Incident.
                  (ii)    any attempted, unsuccessful Security Incident, of which Business
                          Associate becomes aware, will be reported to Covered Entity in
                          writing, on a reasonable basis, at the written request of Covered Entity.
                          If the Security Rule is amended to remove the requirement to report
                          unsuccessful attempts at unauthorized access, this subsection (ii) shall
                          no longer apply as of the effective date of the amendment of the
                          Security Rule.
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   4.     Subject to consistency with the nature of the Services provided, within ten (10)
   business days of receipt of a request from Covered Entity, Business Associate shall provide to
   Covered Entity or, at its direction, to an Individual, PHI relating to that individual held by
   Business Associate or its agents or subcontractors in a Designated Record Set in accordance
   with 45 CFR 164.524.

   5.     Subject to consistency with the nature of the Services provided, within ten (10)
   business days of receipt of a request from Covered Entity, Business Associate agrees to make
   any requested amendment(s) to PHI held by it or any agent or subcontractor in a Designated
   Record Set in accordance with 45 CFR 164.526.

   6.      Within ten (10) business days after Business Associate, its agents or subcontractors
   makes any disclosure of PHI for which an accounting may be required under 45 CFR 164.528,
   Business Associate agrees to provide the information related to such disclosure as would be
   required to respond to a request by an Individual for an accounting in accordance with 45
   CFR 164.528.

   7.      Business Associate further agrees not to use or disclose PHI, except as expressly
   permitted by this Agreement, professional standards (such as those set forth by the American
   Institute of Certified Public Accountants or the SEC) and applicable law.

   8.      Business Associate shall advise members of its workforce of Business Associate's
   privacy and security obligations under this Agreement.

   9.      Business Associate shall not disclose PHI created or received by Business Associate
   on behalf of Covered Entity to a third party, including any agent or subcontractor of Business
   Associate but not including a member of Business Associate's own workforce, until such
   person agrees in writing to be bound by the provisions of this Agreement and applicable state
   or federal law.

   10.    Covered Entity shall inform Business Associate of privacy practices and restrictions
   under HIPAA.

      a. Covered Entity agrees to limit disclosure and access to the minimum amount of PHI,
         to the minimum number of personnel for the minimum of amount of time necessary
         for Business Associate to accomplish the intended purpose of such use, disclosure, or
         request, respectively.
      b. Covered Entity shall notify Business Associate of any limitation(s) in its notice of
         privacy practices of Covered Entity in accordance with 45 CFR § 164.520, to the extent
         that such limitation may affect Business Associate's use or disclosure of Protected
         Health Information.
      c. Covered Entity shall notify Business Associate of any changes in, or revocation of,
         permission by Individual to use or disclose Protected Health Information, to the
         extent that such changes may affect Business Associate's use or disclosure of Protected
         Health Information.
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      d. Covered Entity shall notify Business Associate of any restriction to the use or
         disclosure of Protected Health Information that Covered Entity has agreed to in
         accordance with 45 CFR § 164.522, to the extent that such restriction may affect
         Business Associate's use or disclosure of Protected Health Information.

   11.     Business Associate agrees to maintain a record of all disclosures of PHI, including
   disclosures not made for the purposes of this Agreement. Such record shall include the date
   of the disclosure, the recipient of the PHI, a brief description of the PHI disclosed, and the
   purpose of the disclosure.

   12.     Business Associate agrees to report to Covered Entity any unauthorized use or
   disclosure of PHI by Business Associate or its workforce or subcontractors and the remedial
   action taken or proposed to be taken with respect to such use or disclosure.

   13.     Business Associate agrees to make its internal practices, books, and records relating to
   the disclosure of a client’s confidential information, such as PHI, received from Covered
   Entity, or created or received by Business Associate on behalf of Covered Entity, available to
   the Secretary of the United States Department of Health and Human Services, for purposes
   of determining the Covered Entity’s compliance with HIPAA.

   14.    Within thirty (30) days of a written request by Covered Entity, Business Associate shall
   allow Covered Entity to have access to and to copy PHI maintained by Business Associate (at
   Covered Entity’s sole cost and expense), unless the information held by the Business Associate
   merely duplicates the information maintained by the Covered Entity.

   15.      If Covered Entity determines that the Business Associate has breached a material term
   of this Agreement, Covered Entity may choose to: (i) provide Business Associate with ten (10)
   days written notice of the existence of an alleged material breach; and (ii) afford the Business
   Associate an opportunity to cure said alleged material breach to the satisfaction of Covered
   Entity within ten (10) days. The Business Associate's failure to cure shall be grounds for
   immediate termination of this Agreement and all related Agreements. Covered Entity's
   remedies under this Agreement are cumulative, and the exercise of any remedy shall not
   preclude the exercise of any other.

   16.     Upon termination of this Agreement, Business Associate shall return or destroy all
   original PHI received from Covered Entity, or created, maintained or received by Business
   Associate on behalf of Covered Entity and that Business Associate maintains in any form.
   Business Associate’s work papers may contain copies of PHI. However, Business Associate’s
   work papers shall remain its sole and exclusive property and the protections of this Agreement
   shall extend to such PHI. At all times, Business Associate agrees to maintain the security and
   privacy of any PHI it retains, whether in the form of original PHI or copies, in a manner
   consistent with the obligations of this Agreement and as required by applicable law.

   17.     Covered Entity may amend this Agreement by providing ten business (10) days prior
   written notice to Business Associate in order to maintain compliance with state or federal law.
   Such amendment shall be binding upon Business Associate at the end of the ten (10) day
   period and shall not require the consent of Business Associate. However, Business Associate
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   may elect to terminate this Agreement and any related agreements within the ten (10) day
   period, but Business Associate's duties hereunder to maintain the security and privacy of PHI
   shall survive such termination. Covered Entity and Business Associate may otherwise amend
   this Agreement by mutual written agreement and the Parties agree to take any such action as
   is necessary to amend this Agreement from time to time to comply with the requirements of
   HIPAA and any other applicable law.

   18.    Miscellaneous

          a. Regulatory References. A reference in this Agreement to a section of HIPAA Rule
             means the section as in effect or as amended.
          b. Interpretation. Any ambiguity in this Agreement shall be resolved to permit
             Covered Entity to comply with the Privacy Rule.
          c. Definitions. Any terms not defined in this Agreement, shall have the meanings
             provided under HIPAA.
          d. Incorporation. This Agreement is incorporated into, and subject to the terms of,
             the Services Agreement.


   CAH Acquisition Company 16, LLC d/b/a Haskell County Community Hospital



   ____________________________________________________                 _________________
   Thomas W. Waldrep Jr., Trustee                                       Date



   Grant Thornton LLP



   ____________________________________________________                 _________________
   Grant Thornton LLP                                                   Date
   Johnny Lee, Principal
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this day he served a copy of the foregoing on the

parties in interest either electronically or by depositing copies of same in a depository under the

exclusive care and custody of the United States Postal Service, in a postage-paid envelope,

addressed as follows:

       Marjorie K. Lynch                                    (via CM/ECF)
       Office of the Bankruptcy Administrator

       Rayford K. Adams, III                                (via CM/ECF)
       Counsel for the Debtor


       This the 10th day of April, 2019.

                                       WALDREP LLP

                                       /s/ Thomas W. Waldrep, Jr.         ____________
                                       Thomas W. Waldrep, Jr. (N.C. State Bar No. 11135)
                                       James C. Lanik (N.C. State Bar No. 30454)
                                       Jennifer B. Lyday (N.C. State Bar No. 39871)
                                       Francisco T. Morales (N.C. State Bar No. 43079)
                                       Anne H. Phillips (N.C. State Bar No. 48760)
                                       John R. Van Swearingen (N.C. State Bar No. 53646)
                                       101 S. Stratford Road, Suite 210
                                       Winston-Salem, NC 27104
                                       Telephone: 336-717-1440
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